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                         SO ORDERED: March 09, 2011.




                         ______________________________
                         Basil H. Lorch III
                         United States Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                               NEW ALBANY DIVISION

IN RE:                                          )      Chapter 7
                                                )
EASTERN LIVESTOCK CO., LLC,                     )      Case No. 10-93904-BHL-11
                                                )
                      Debtor.                   )      Hon. Basil H. Lorch III

                      ORDER AND NOTICE OF HEARING ON
  MOTION TO EXPEDITE HEARING ON APPLICATION FOR ORDER UNDER 28
  U.S.C. § 156(c) AUTHORIZING THE RETENTION OF THE BMC GROUP, INC. AS
                  NOTICE AND CLAIMS AGENT FOR THE TRUSTEE

                THIS MATTER having come before the Court on the Motion To Expedite

Hearing On Application For Order Under 28 U.S.C. § 156(C) Authorizing The Retention Of The

BMC Group, Inc. As Notice And Claims Agent For The Trustee ("Motion") (docket #323) filed

by James A. Knauer, as chapter 11 trustee for the Debtor, Eastern Livestock Co., LLC

("Trustee"), and the Court having reviewed the Motion and having been otherwise fully advised

in the premises, the Court hereby finds that: (a) the Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; (b) this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and (c) notice of the Motion was sufficient under the circumstances; and the Court



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having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein,

               IT IS THEREFORE HEREBY ORDERED AND ADJUDGED, as follows:

               1.      The Motion shall be, and hereby is, granted; and

               2.      An expedited hearing on the Application For Order Under 28 U.S.C. §

156(C) Authorizing The Retention Of The BMC Group, Inc. As Notice And Claims Agent For

The Trustee (docket #320) is scheduled for March 11, 2011 at 9:30 a.m. EST in Room 103, U.S.

Courthouse, 121 West Spring Street, New Albany, Indiana 47150. The dial-in telephone number

for interested parties to participate in the hearing by conference call is 1-888-399-7768; passcode

586676, followed by the pound ("#") key.

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